                                                                                 Case 0:23-cv-61203-AHS Document 35-11 Entered on FLSD Docket 07/27/2023 Page 1 of 38



                                                                                                                                                                                                                                             Investigator Name: Chris Stavrou




                                                                               Evidence Collection Report
   Page Title
   Amazon.com: Aesthetic Collage Smiley Face Makeup Bag,Retro Abstract Psychedelic Pattern Cosmetic Bag Best Gift for Sister Teen Girls,Daughter Gift from Mom,Birthday Christmas Valentine's Day Gift Makeup Bag : Beauty & Personal Care

   URL
   https://www.amazon.com/Aesthetic-Abstract-Psychedelic-Christmas-Valentines/dp/B0BXSJYGG1/ref=sr_1_66

   Collection Date
   Thu, 20 Apr 2023 11:30:21 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Chris Stavrou

   IP Address
   185.230.113.27

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/111.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   PP0Ja2yD2X0vhEeg/a+YtXzmvABe1P9dMhONKvZyE3EQ4F5ebIkVTH6eRmcPJMU/CYI+PgxEito4gi+rpxVJ9/hslCmbYvdIZD+WPcZ0Coa8XTDN6uxkYxSbLm/qvTVEkn3sSLvG93W4W72rIu+bnoAETue86e/avkRYz3BTms4=




                                                                                                         File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]Aesthetic-Abstract-Psychedelic-Christmas-Valentines[fs]dp[fs]B0BXSJYGG1[fs]ref=sr_1_66]]_Thu,-20-Apr-2023-11-30-21-GMT.pdf

   Hash (SHA256)
   d7c6b2f0e2df4cb615b52bac851c1163570519ca0bacea7d86e2292f3ac4bb71

   Signature (PKCS#1v1.5)
OT9EEoCHrMqDB1v+IbnyXtrZur6eoSdpor511r7vbLg3pXizhcS5oLQYgqu4M5B+5Cu9Ts+sbtagyW5BF9l95KoHElNnvXTSTw55vr9d7bjlfIiQ+hFD7ZJut/h6LnWPfUh2FvVntwJwRiA22dwUfjI6PlhzY2PDF6m+JjZEbkA=
                                                                                 Case 0:23-cv-61203-AHS Document 35-11 Entered on FLSD Docket 07/27/2023 Page 2 of 38



                                                                                                                                                                                              Investigator Name: Neha P




                                                                               Evidence Collection Report
   Page Title
   Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Fri, 19 May 2023 15:09:40 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Neha P

   IP Address
   2a0a:1dc0:4::3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/113.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   F5l453Vq75oHWLd94zrXxk7KVKj42uZqDXeg/pUIhyy6bN4oFImi3hyYuF9uyREhXcLgllU9yZbBMcbtp14NIlXDUwzh6dnI4SNz7Q+8IRKZbMULq1M/FTs/gChIdxd4jYu5Habb+GTw+5eaZPm9hJghuQW7gUJfEi4bvWaiBmOdXn2TmEUWWopA
   +nj9StquAvokcHeZb056M9+FN0F123k52ID9kupCsZiauUAC64B0TtyrWBnmn1hyKk3gujzRYraDtPnOxTpSKlrqiyHKoekmt7GfP3qGrPNCL0O0CSrKp5JoIhItGCVdBPYyCc2pD79LDEMzh/2z8ysVdtbpBA==




                                                                                                         File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Fri,-19-May-2023-15-09-40-GMT.mhtml

   Hash (SHA256)
   2840b2674722888d80ba9a3d20f424f802fcdfef7f85bde37b6afd9d1fdec963

   Signature (PKCS#1v1.5)
UmAfhaHehv7mBkk6Qk2Q5ZftVBEltI47avkUcM2C4gkN2ayMm4/e8YQ6X31F1koELOFthvBJH6WdCGtUkZzLvIkHYa5uVbWhrShteZNUpW3uBhnhI2dwzP+tj6sGqj+Z8rJ0ytoBJYcLhYH4faT7KaoCAwDRrKCf493uWF+
+SjCVoSWE4tywablaCa9+Zsnb4KtH6ONsLtCZCrBmzh6jBSGFPW5J1PNa3iDieOrICbmh0d461w91Yn7h0qvRSUTqaDplfmIsRpFma0bpodsQdaz2eJmSJO8TIy380p1ixEBNt47+bQJ/F/mDstuIJYGtOvigRuvZye3CYIOW/VAHFQ==
                                                                                Case 0:23-cv-61203-AHS Document 35-11 Entered on FLSD Docket 07/27/2023 Page 3 of 38



                                                                                                                                                                                  Investigator Name: Chris Stavrou




                                                                              Evidence Collection Report
   Page Title
   Amazon.com: Tanyoyo Smiley Face Ring Signet Asthetic Cool Dainty Statement Rings for Women Girls (GOLD+White, 7): Clothing, Shoes & Jewelry

   URL
   https://www.amazon.com/Smiley-Signet-Asthetic-Dainty-Statement/dp/B093KNS3SS/ref=sr_1_50_sspa

   Collection Date
   Wed, 19 Apr 2023 11:46:55 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Chris Stavrou

   IP Address
   2a0a:1dc0:4::3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/111.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   QlizDrEaT8UUrnYvjVahiEI3prDBEVbFSDcJ9W8sslU4Hd2C9AW1MbRrM4zjHv6xFABYCPJXnxgJ461oI1WDGEnGSg67xTj8o9mcFe5AuMEkQgaI6mk77iPgBp6nZn7t2fLP8axDpDJA7XpKuh6+sAXqYOSWZBF2ixtkfYLKoB8=




                                                                                                        File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]Smiley-Signet-Asthetic-Dainty-Statement[fs]dp[fs]B093KNS3SS[fs]ref=sr_1_50_sspa]]_Wed,-19-Apr-2023-11-46-55-GMT.pdf

   Hash (SHA256)
   8e0f797e08a550fcb270588dc2717b6e126ffc3fd0326149ef57875e17869392

   Signature (PKCS#1v1.5)
VBF+EEWpl2FPSnH2dU+RkdOhmn93WvdYkTLFQt+Tz6MgEb6pxy4hjMGyPtNSgEokbArl8T5xEv/nE3Jq76vqhZzT0hF2GOoCbs04uciZ/JAiEVpEhZ0KI1pmL7gRdWGiGgSA242h1rxTkS/X4T4f2aHVl+Xeambsjc9SrTddVu8=
                                                                                Case 0:23-cv-61203-AHS Document 35-11 Entered on FLSD Docket 07/27/2023 Page 4 of 38



                                                                                                                                                                                                       Investigator Name: Sarah Christodoulou




                                                                              Evidence Collection Report
   Page Title
   Place Your Order - Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Wed, 17 May 2023 05:43:36 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Sarah Christodoulou

   IP Address
   185.230.113.27

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/113.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   d1PZKLo4ljTpRz1wIRuiw6eVoXroZVrRZFZQrgU+SZeOYAxPuzMgdgbSx9bp5QAW94dBXVa7F3SveMcyFWcE+uuahV2tb09hOX7JoDM8oEhbWdvEh8C6OZjm16PHvzB3EToqQ7Jvjq8ZcF6deu6TQXBLiJr5UWjcbii8V2KX20A3/VqKzHCGREZl8eYHB0s7hQnnRz51YNzXQna/IijCt3bLuMz
   +VZriDsqUgMpunKc/WnYbOojYUz8XfRYI9qX7OBsnXaEcqVm57P6JMER1TFeanZV0qqW17kNT/RRvOZQQJUbLpeSJsI6NDhbG1G4ZHrtTMAbNiA2XPwutJaULFQ==




                                                                                                       File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Wed,-17-May-2023-05-43-36-GMT.mhtml

   Hash (SHA256)
   87617b0a2c87528d03dfbb6faab2cfddf9afe5e3b953e1f3234a36c4216717dc

   Signature (PKCS#1v1.5)
hrvcpoY+CdkXbBXLBrbKJZ26wTrkL6KSLBReDiMF9Zqeeh4gpzqLdWoa2ErFuSFw3CjWfVB47HIYWT8c7VWbJvhfVBUhPGVARUi3f9snbPUjMINeNIQCVh1siUILpCLaeusuTSeUYK9bvAwXgXmxGk+KEdMRHvIPtzZFecNhHKdLdTfnBvWQJLYh0k3dt8amW9ME6QvbviVEz3YsU3RlFL/
HdWPebayN9rxTYvmSmIVU6UzX+ig4XRA8NY1o+49mFPF3Vn8cKZ5PuHnGAab19b1acSQzuKvmP5W+J2cieE4U+UtL44ogfsd3YUqCMNk3ExL+w62LfjoAUqnm13fxZA==
                                                                               Case 0:23-cv-61203-AHS Document 35-11 Entered on FLSD Docket 07/27/2023 Page 5 of 38



                                                                                                                                                                                  Investigator Name: Sarah Christodoulou




                                                                             Evidence Collection Report
   Page Title
   Amazon.com: 10 Pack 18 Inch Yellow Smiley Face Mylar Aluminum Foil Balloons Use for Happy Birthday Decorations : Home & Kitchen

   URL
   https://www.amazon.com/Yellow-Aluminum-Balloons-Birthday-Decorations/dp/B0B27W42B2/ref=sr_1_24

   Collection Date
   Tue, 09 May 2023 10:09:41 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Sarah Christodoulou

   IP Address
   2a0d:5600:8:93::5

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/112.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   gF9ga2PySX2odMzSgVO1mlOw6yN2CMzmJCI79stL02J+UQ3+vcKEPfQlWe1TzSwqnHwW/zwZmma+NXh7MnRXJLAjINmFS0eBqTFl7CXPcoU8FzXZx3zoP9vcKx9PpaSQn6Et/8OwKelfO6FjqnMRK91N6K9uDQxuwyx6C6dhqLI=




                                                                                                       File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]Yellow-Aluminum-Balloons-Birthday-Decorations[fs]dp[fs]B0B27W42B2[fs]ref=sr_1_24]]_Tue,-09-May-2023-10-09-41-GMT.pdf

   Hash (SHA256)
   068f9f86d6fbe18ffb5d0a87fcb119403f4ff137ba4a55b81bda0dbadeac2080

   Signature (PKCS#1v1.5)
cLBr16odJZzCY70YAKQNLuGu8E5ABGYaOZXBeOBJjAKhqXnGW1+IykwK5wVO8RoTM5/mlI6OQmDlV3MTIODeR/trKrRq7AXDUEt+SoGcFoK11AbxrrpCGFiXNnHBhaVd6dTw5ATnJ4ku/eev4RUHwhnm/7sPvtaJ8MSPumB84OA=
                                                                                Case 0:23-cv-61203-AHS Document 35-11 Entered on FLSD Docket 07/27/2023 Page 6 of 38



                                                                                                                                                                                          Investigator Name: RemoteUser2




                                                                              Evidence Collection Report
   Page Title
   Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Mon, 15 May 2023 08:42:24 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   RemoteUser2

   IP Address
   116.68.99.108

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/113.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   aO53b5XnPEJwXeUVFY7K1AJXWaLByneWyiCMPsyCd95KHGJ4W1lokdGYjHn/ngEBr1g5V3ZqHyda5l79N9ffHGyInwqCEvrPles35JMPGBOUdZA9mLoUscyCgzyil1P19qX0fCRIjlfynS3mnZWRE8BqSEVNz/KpBqN/
   EfobYx02MpDXESn1H4Llzw5C1EWYGnloU9+ajTlF2mzuDGv25jgPLpF9sxGSbhTE8McFVpfrqB0NRPlcU5vOUKl0CkM/b0o+whzgUjrttgMfIsUrC2BTM2EMdD1nLQ8f0AOgRUe4odMzEUKl32FIZSkDOwNdYyDbyi7xVqir8fRCbcvSZw==




                                                                                                       File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Mon,-15-May-2023-08-42-24-GMT.mhtml

   Hash (SHA256)
   c0cb0cf18f042ffed2167d5cd4c58b175c1eae42ae4e2e533202d2c82870c355

   Signature (PKCS#1v1.5)
L9HGmmg1vwsII4Xu9RdpV5j1k5CXAMSYQfu7Emo8GXyUKCNWXPeS4JlUrQbU0+DguKOtcFbOpkUb3Y/mNoismJ6GqaAfRCaSU1PTwwOH8qb9+tpEdJxznTxJ0H1JPQzriMwJZa8S2en74UTwl6+idtdgVMMJiG0AM
+8M45nDENKwTiaiSGbjYDol7SEv0NQV4LuLXgAjqnvSE7SR8dDX6vw5ZyNrW12fPqSepSVzPZlvpe1Wv2dKxwzCJHec36ni3ZligyOURDSkHu6fdGh/koKJcAxFpZztUYfeFaOFTMbox/kUA7rakUA8bP2L1rvbLXdpXny1+EHDYUaSxW+vEA==
                                                                               Case 0:23-cv-61203-AHS Document 35-11 Entered on FLSD Docket 07/27/2023 Page 7 of 38



                                                                                                                                                                                  Investigator Name: Chris Stavrou




                                                                              Evidence Collection Report
   Page Title
   Cute Smiling Face Socks Smiley Face Embroidery Ankle Socks Fashion Cotton Women Socks Funny Socks Gifts(light grey) at Amazon Women’s Clothing store

   URL
   https://www.amazon.com/Smiling-Smiley-Embroidery-Fashion-Cotton/dp/B0BSMPGSTQ/ref=sr_1_184

   Collection Date
   Fri, 21 Apr 2023 09:22:41 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Chris Stavrou

   IP Address
   2a0a:1dc0:5::3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/111.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   opaWXbn0NSHnzhGBt+u1qi9jv9U7dTIwxhB4NnBylrx/qUfJkvqKTsXjKxtm+r+TzFSU2+Y0u2HpuESf3KcQluuTSjl2XjN1/g4PNU6gqeHF9P4xUq2u5d8/rnctxi56IICcgdPYfSVN27pSjYe7V9BmC56pj2bpLIxrAgVJ5Qw=




                                                                                                       File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]Smiling-Smiley-Embroidery-Fashion-Cotton[fs]dp[fs]B0BSMPGSTQ[fs]ref=sr_1_184]]_Fri,-21-Apr-2023-09-22-41-GMT.pdf

   Hash (SHA256)
   7e8fb379f5a9ac44e33772d0120525ebc6288d68afa339fb4c0eee071d5bbe65

   Signature (PKCS#1v1.5)
DkTpwU7QXEDMMC9Do7vTYGbY/lGmmc4yyfEkGKd+gQnAwfkpw94HsR4XqRhfBwGee7n1DRt68SSi2e1YYaL+puxCl+yrzT1Nwm++syDTBRF+zyyR/qlxk6PrX4PdyXHrUAFEVxrkUP8B0M2+iensrHCW2iGrHQePL9KrWdJBLe0=
                                                                                Case 0:23-cv-61203-AHS Document 35-11 Entered on FLSD Docket 07/27/2023 Page 8 of 38



                                                                                                                                                                                                                Investigator Name: Neha P




                                                                              Evidence Collection Report
   Page Title
   Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Tue, 23 May 2023 12:02:39 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Neha P

   IP Address
   202.83.40.91

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/113.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   Ko7prk4rxEGUMU/39LMScRjc2HmWWX3rqqd9taemtwZkGTFRE0FVw/SEg5dKv5SuM7d7BI040A/FkcTtaox40znmmJ/4a1+5csrJ6BQUuDvNwHwNxXW8c/yMa2luoz3v5+Re1Jc59UH6gZ0pSSbqzEJE6kZFPBPMkEnfeHL92cdapepxDLajG
   +GlsvZ5M/2Q3J0MfZYSgSMswGUZkGHy4rQ1wwakIp0rib8oHv7yxmOedwGOVllx3/2DmPFCkRUyRnbcwciCcMmK7sVsb4qMT9p1ap9mjusrR31xP5cDHv+N5Pw6qK/X0qPq4YRXY8hIT1VhzFM+R2rPGvlj/32/zA==




                                                                                                        File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Tue,-23-May-2023-12-02-39-GMT.mhtml

   Hash (SHA256)
   92460cab200c29451f84331063511f2e5f9fcf050dafcc8e26e060ca763f16f2

   Signature (PKCS#1v1.5)
MbFUpco2m5L8bM4OW98xipFUXIX8K1ds5mlKntBM1SmnRuzJ3Lr0JccWRn5ZP/UzyMvnMWkfff29foNVSwDrcYcBO1UZukCS/
HmeTYVWYKShNVCY9lcnSjQ3B3WQu3UQSHWYeanJa6NXTQVyR0di6yxCjrnu8PzhAelZUTmUCRmJiSJkPRamwLZIAeVwBF2FtTjysJElwMudqXl8sataCrqtQY3FkHWTk1KPOuNtlMvLkadgZCDFUQvHnGh2ZO5k2VlZzo87tufCRNvNEWg5SeXn8IQ5O82GXcLlg7iK6ltuMRTyo6Ctctj03139z2tr5i
PX+PyMqTMgFlYboqotpw==
                                                                                  Case 0:23-cv-61203-AHS Document 35-11 Entered on FLSD Docket 07/27/2023 Page 9 of 38



                                                                                                                                                                                                                     Investigator Name: Chris Stavrou




                                                                                Evidence Collection Report
   Page Title
   Amazon.com: Gilieyer Gold Smiley Face Bracelet, Gold or Silver Plated Chain Bracelet for Women Durable Link Bracelet Happy Smiley Face Charm Bracelet Fashion Jewelry Unisex (Gold) : Clothing, Shoes & Jewelry

   URL
   https://www.amazon.com/Gilieyer-Bracelet-Durable-Fashion-Jewelry/dp/B09GLVFB1L/ref=sr_1_274_mod_primary_new

   Collection Date
   Thu, 20 Apr 2023 05:37:42 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Chris Stavrou

   IP Address
   2a0a:1dc0:4::3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/111.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   KVZ+H3ZFF342pXVIAjV7LnyQZKAMQPOMd5/p50QlmrRvxISO25l6QCZ6TEVyy8uElbZqODgPLbPrbnKczbYTP2J+nezDsrCmnTH75RcHS453dRe33Kss6VMrrBCVXOCJuzkXXUjzVdbe3saJqQFTNG3htHd33cuIi1hdzYQYPhg=




                                                                                                           File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]Gilieyer-Bracelet-Durable-Fashion-Jewelry[fs]dp[fs]B09GLVFB1L[fs]ref=sr_1_274_mod_primary_new]]_Thu,-20-Apr-2023-05-37-42-GMT.pdf

   Hash (SHA256)
   d8f712a920b7b69a349373b7b693c7dc705306a1e4c1fc42ec682920d772d485

   Signature (PKCS#1v1.5)
ov0HPhd6FE2CSDzObbNslnajOFvY2nQ6FPA6E6VQOC3vAq3ki7dTP5mI4BrUERK602ghA/4wwJ4TppcdTZMznvokp3FNcCaW11VA2u0MAFc/3H8FCYUQ5PpNhLpFs4HY7zg3iHuYLXE8us6SDnIggVDfYCB/BFOC2si4bWtLopg=
                                                                                 Case 0:23-cv-61203-AHS Document 35-11 Entered on FLSD Docket 07/27/2023 Page 10 of
                                                                                                                       38


                                                                                                                                                                                                             Investigator Name: Neha P




                                                                              Evidence Collection Report
   Page Title
   Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Thu, 18 May 2023 01:42:26 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Neha P

   IP Address
   2a0a:1dc0:4::3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/113.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   f3xPAfBamwWX7haMTyN6nVw2bdFOi2pJIRupudQCC/sm+b+0UDR7f0XWkuXNsA9gERSHLOq4bz/I+OmUQj8iUFKShG1htxxutc5eD7avRBAtRkPSF8z5ZiWpZ22mYDPXId5v0aS8KawAthlhRKxK3F/hEnMyC0k+FNg79OZTDXGO/6m5nha3LUi/F70mmpUp/dY3Q1/
   sK9vV2JXwEQeJlSljcLQnP2mqNzQPzykI5UZi45UP2TrQbtVJNcjhtPz2BjXv/JwXky+z+BAga/8ejYqBnpZ77W8EdGkPJASO4XMTA8H21yGF/xYSZ5yaV1aYIdmhCksm0Px9IeVyKmM1Xg==




                                                                                                        File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Thu,-18-May-2023-01-42-26-GMT.mhtml

   Hash (SHA256)
   31d9e1870d260276c385aa52fef1c8f9c2bec2365afb0f67e854267410f1a530

   Signature (PKCS#1v1.5)
XumtH/N7Hum5frlY3RdIt3yB2Xnj7PN8mww/rLoIirI0u0R81oMqWrZcpRF0+v9OTXnnRc+ojI/A69UKx8xxXwFfm1fGxGpoKpBokHXSpBUIJWjsv3jQKXqATJhEhC44sqyU8BU8IWBPGQ+vYjZaAjGHmCbkDkdu/kL0aTqdbRJmKY79VLUyLRG+14evAQFF8z/
QScNRKfjOMgetYNpAhZNBywDe4HgkiJBV6MI/a78F0/QR8vtkQEh7OwmjtbKJfQZi0BuawOg6QVTzoyybJM8IaPL9BaIkHdWyNoCHh7++bTWHXo1jRfaK2N62+ePrFcy0/fLGQ670OF7zBa9wSg==
                                                                                Case 0:23-cv-61203-AHS Document 35-11 Entered on FLSD Docket 07/27/2023 Page 11 of
                                                                                                                      38


                                                                                                                                                                                                                                                 Investigator Name: Chris Stavrou




                                                                             Evidence Collection Report
   Page Title
   Amazon.com: Kokaaee (3in1 for Motorola Moto G Power 2022 Case Cute Smiley Face Women Girls Girly Pretty Luxury Phone Cases Mint Green Gold Smile Design Aesthetic Cover+Screen+Chain for Moto G Power 2022 6.5" : Cell Phones & Accessories

   URL
   https://www.amazon.com/Kokaaee-Moto-Power-2022-Aesthetic/dp/B0BD5CCMQ3/ref=sr_1_44

   Collection Date
   Mon, 24 Apr 2023 10:03:23 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Chris Stavrou

   IP Address
   185.230.113.27

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/111.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   OHvsU40Ehavh01NHoTq05hjTFUPVMjBPMyZ1r3Y2XBhNg5izWZUXk6u2L21IUsEFb8zxfECf1Fdgrbjh1B6tNd3JBtXjABleVL78lSgf9xn6H2gdk3+FL0rMil07CnMj/Qilu76R0EYYlC28tnUb75X+GLB7mALCMDNvdWELnds=




                                                                                                       File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]Kokaaee-Moto-Power-2022-Aesthetic[fs]dp[fs]B0BD5CCMQ3[fs]ref=sr_1_44]]_Mon,-24-Apr-2023-10-03-23-GMT.pdf

   Hash (SHA256)
   7755da336abc5da41d389a141346c9b0ed3e491b13261cd154ce1ea265d5c23e

   Signature (PKCS#1v1.5)
AAqYExYg3f3+TZ8SWQbepmFiCRxoqxYLuXNPX+zOkYZ2m+K+1jGm+5rndmCmj2dpLCvnPW4dpS18JDqV7s3VjIs+OIzbVf6ZNWQ/r95ATpZn79g6qPGWPl7ZwHI96+eX7/niBxPOrhV/waGo0FNn+CXRbpf14/6om+dn5U1FVOo=
                                                                                 Case 0:23-cv-61203-AHS Document 35-11 Entered on FLSD Docket 07/27/2023 Page 12 of
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                                                                                                                                                                                                                   Investigator Name: Neha P




                                                                              Evidence Collection Report
   Page Title
   Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Mon, 29 May 2023 07:56:28 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Neha P

   IP Address
   116.68.102.163

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/113.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   EHVvb05GDc5VkJGsFvCGFauxjQZCQmNS8wUJIEsZlDzV68vGT5W/Cj68iLDWfxnK0Qt/an8rfmmq1Vz7mVUp8xS3NfsVYGlPdsBgFtGHKAmb+44zmC6Ue
   +RPNuRlrR5gEidjt5Hvl564UshfWmTA5+ora9eKE0UOu8VUym/6HiuN1CBbroIqjkd4T48+LcNto7eJL8Hr8FWrkzj61hVN70wKH1mC2Pi2B4Vomt8tf4inQav43Id1t6awfX1Zr1wgrJtWGCYLjmqbkuwuuO0mNNLh96VjkINurXRYrOkefJURa2gG02h1RES4VxnnhHffdbp3DIy6lB3ddzV0ODNUzA
   ==




                                                                                                       File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Mon,-29-May-2023-07-56-28-GMT.mhtml

   Hash (SHA256)
   856088c112ea42cf87b3e29a8c28e9ae23c71c8b39b0563b993a8cd15f9bebd0

   Signature (PKCS#1v1.5)
nTQQcTUpLsMvGYMwYbes9m9mULMapqBcmq+SWZJ0w/rP7IzkuY1evjuon8NHRfu+YUZJtNbCRtGg0FiBJFWHT4WE5xQPTuHWsg8YZ6gpADYr7nw4LiTfJfBEI8IPiAyoY12PBFXX/dWLcKrxT5CL9tOqHHIyPI7n4SY5wJWw4+Lay+T4gL+490TTGxMYcBmeHWKCN/
BXjdS5IFsJHzT8rTJiIttYabd/8hfQSeLRZj2IBsQ8YIim7ap6gxq0n9vbAMDY/5iMS5M7nsIv8rztVHio6kydl67r9FTPQc8+0mgip0rdAzKqoDcixuXRHLZp/K2b/q5EtAkOF5ZtUGYOAA==
                                                                                Case 0:23-cv-61203-AHS Document 35-11 Entered on FLSD Docket 07/27/2023 Page 13 of
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                                                                                                                                                                                           Investigator Name: Chris Stavrou




                                                                             Evidence Collection Report
   Page Title
   Amazon.com: Smiley Face Beaded Pearl Necklace Y2k Star Beaded Handmade Charm Choker Necklace For Women Colorful Boho Y2k Necklace(smiley face star choker): Clothing, Shoes & Jewelry

   URL
   https://www.amazon.com/Smiley-Beaded-Necklace-Handmade-Colorful/dp/B0952VFWL6/ref=sr_1_199

   Collection Date
   Thu, 20 Apr 2023 05:15:20 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Chris Stavrou

   IP Address
   2a0a:1dc0:4::3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/111.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   R19GLkXaEZEhMd4tW+qjgCPn5lX1+yrPyxOVDezBOvzIK72dyQlFdpSbatNe1ZgwE15R2t+5bFEWO5rYUiy//lnK+votCL/l8S47t/uZA1pfgGwYCTdLx12sMiY/opxX25KUCR7xlTmFQg2SrVR79WCVduwrHXxM6GJ1xYIz4kc=




                                                                                                      File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]Smiley-Beaded-Necklace-Handmade-Colorful[fs]dp[fs]B0952VFWL6[fs]ref=sr_1_199]]_Thu,-20-Apr-2023-05-15-20-GMT.pdf

   Hash (SHA256)
   78fcf41be7b2076a51de79d3a26663bc75bd10345e3fefb8b8d0569b8900176d

   Signature (PKCS#1v1.5)
ARZ5AggJYn2aTH+MrsuaBz56IOshWyEq5NZvQLXiGPuAdkFwTvx6UjqJztViima4dnycx64UuyL4t3ycJnUxxANXx5tqpt0B1S03xlNWRbefIGFZ0XwQHgODrVc0zdVCNl0wBYwUJF2/Vs8sfNOXDxNNdbJMyt4Pr1jLMFBHztk=
                                                                                 Case 0:23-cv-61203-AHS Document 35-11 Entered on FLSD Docket 07/27/2023 Page 14 of
                                                                                                                       38


                                                                                                                                                                                                  Investigator Name: Neha P




                                                                              Evidence Collection Report
   Page Title
   Place Your Order - Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Wed, 17 May 2023 13:48:38 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Neha P

   IP Address
   2001:ac8:9a:d::3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/113.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   ASigDElgt+1nidK8dxDeS063pxSNMiN2zkSn200PzQzCElFWbi93lKgeIn15rcCIFN5jq9cf5p8YWmtUtnNSJ9oFtWI0DqRkvWBHVx2/Sq7CD+CfS0mOlDlgvTj33aq2dHtfp+qJLBWRrS3u8oCgWvyu5mHsuwmNI5xNQIImo5B+sX2DYqRbo/
   FTh5pHc5lSnTBSxtKdRtd3SpRTR/9XOQZr7rPAFaxxXl+iYGji0qtkG2SwEL/TXbBHpWjd6qECKtgtpc6RclxpZCv7/F4B0FWE28XPBx/sIfXeyx2a4F1stHE4TWLv3Fz/tDLmGSR/dcUB1V2bHuklXQDCOgQHww==




                                                                                                       File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Wed,-17-May-2023-13-48-38-GMT.mhtml

   Hash (SHA256)
   e7b05002a2eae87e3d225904aad3aa15876e845a89f5cc1c46369975c04f583e

   Signature (PKCS#1v1.5)
dK0esAQlN7x9JGt7IRTSOmnTJzkagB26LcpKusmCJ1y9MdwyOa0oKuTAg6SJwz/eIlGLFUrNv9d8ReZDFY7ni5daCenUpD6n3C7700jTMJTXGdZvV/ELJL6ejO65Hzxgex8GP0SjUO5eKyJg11TPE6JMRWd9Yn4cpLwkBurgCm2wIokvdBCyY804TUW+Wl/
p1FbMAGlz92NxJtIbaHRFvppW1QOWPyMgMw695yckpOtlzuTrQQA+HpsXkAgmwkqPyfJFh/fqT22wXNpYlJJkNDJgQUVLBprsyQhuBuwFWNFN6Guv9RFbymMNMMrtP3a6ZmDh8He8f60tGZoMRgCtCQ==
                                                                                   Case 0:23-cv-61203-AHS Document 35-11 Entered on FLSD Docket 07/27/2023 Page 15 of
                                                                                                                         38


                                                                                                                                                                                  Investigator Name: Chris Stavrou




                                                                                Evidence Collection Report
   Page Title
   Amazon.com: Yellow Smiley Stickers Roll, 1" Round Happy Smiling Face Labels for Teachers Reward Students, 500 Labels Per Roll : Office Products

   URL
   https://www.amazon.com/Yellow-Stickers-Smiling-Teachers-Students/dp/B0BFL7PS13/ref=sr_1_43

   Collection Date
   Thu, 20 Apr 2023 07:35:26 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Chris Stavrou

   IP Address
   2a0a:1dc0:4::3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/111.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   U4SQY+852+EHKfm32/SG267TJuQB5nEe0U0CuhBlzCfrQUCJAaCr5+nDmqPA59bcTpop1eCm9OMG1Du7LUyDnM3Z1dy7N9p7N4wnMlFG8H823dC00wnThNCXh8TgDPicw29Cx/SazcXjM/tAgSMDjf0HAsZI4ra82d6yzMlZam4=




                                                                                                          File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]Yellow-Stickers-Smiling-Teachers-Students[fs]dp[fs]B0BFL7PS13[fs]ref=sr_1_43]]_Thu,-20-Apr-2023-07-35-26-GMT.pdf

   Hash (SHA256)
   415392abf840af8008238e1f9d21e86d92cc06b269af00d611e58f4daa2b6abc

   Signature (PKCS#1v1.5)
qhWWsFNIbFPudFYo9xo0/QsprbVo2Cq2Bt6PdV8GdC7iyr4NB90oWCHG1RcEG6aS53sTMkko/Kr5200m2YlkSPNEHsMJQE3QZUoqrJ+aLxAaSYNMccqnUlitixltkLCR3rVqnYO6qR3ROBqsxmISw1sZvTK4YDrS/JlsY1RCoWE=
                                                                                  Case 0:23-cv-61203-AHS Document 35-11 Entered on FLSD Docket 07/27/2023 Page 16 of
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                                                                                                                                                                                                              Investigator Name: Neha P




                                                                               Evidence Collection Report
   Page Title
   Place Your Order - Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Fri, 19 May 2023 03:43:09 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Neha P

   IP Address
   2a0a:1dc0:4::3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/113.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   Ni+H/abiIQ4+v+tqU5a66fqou9zMM0ff19dAZYN4FItb4QtwcM214mzjp/hwyX5JgXqZCewMjgV0ACbMZbebED/QUJOhkNkSTgV3me0bY858PD4x8UUXx8mKCn4Q
   +ZJXxVwHpJ3pabk2Rs22XSc0KwpwUAtYxFwpdhAjvLLlYUQofsTEV8yZ31tKs93O6lJS5A2cS11meN7QAzkbmzUN5+pEnWGdgf3Ml7c4GAiHoiptuQI+Jwbc8c2sAZom2vNGRTLcoXPs/skV4la28UD4Sp6zKs/cBqu4iNky/tCxLWp/SubUMyIi5PgBlyt27EWLWaRfewAmX0bRuKuJAeOcAA==




                                                                                                         File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Fri,-19-May-2023-03-43-09-GMT.mhtml

   Hash (SHA256)
   140c2b7dd66e88e7095aa2c1f8c12064ddd5a763c98053e83caf5fdb731ce150

   Signature (PKCS#1v1.5)
S67+iHVz287FdMkRqw+YMDeqP7kvXXlrYfH1Vg5Tl/Wg6lPjXNhTjf7t7bt9p9hFsXwzKuk54Z1caHr8aIwyT22xp9kFnU7aAApSb6oDzofwHwRVhleFSB249XjpESDAhY4IXQsQ8DjZFtCSOho/JL20G3b6RxhkohwLzfJTn7uFgrDe4ESaP+vhrJK7Vjam2g0t
+q31qni8iKx50eRgTSfF7D7qk2dbYku9GV9DdL6Mwb+jb5N5Ja7ILeZp/l5NDnDqics+EnXyO7uCKibflwdyGmX8I5g6s+gGsuyexKmrVh+xH3qKesiVIlEiYge3OUIp5wvwnE/YzxQVpXyANA==
                                                                                Case 0:23-cv-61203-AHS Document 35-11 Entered on FLSD Docket 07/27/2023 Page 17 of
                                                                                                                      38


                                                                                                                                                                                                                                         Investigator Name: Sarah Christodoulou




                                                                              Evidence Collection Report
   Page Title
   Amazon.com: HONLUNG Hot Pink Preppy Smiley Face Throw Pillow Covers,Do What Makes You Happy Inspirational Throw Pillow Cases 18"x18" Set of 2 for Home Girls Room Office Sofa Couch Bed Decor,Gifts for Teen Girls : Home & Kitchen

   URL
   https://www.amazon.com/HONLUNG-Preppy-Smiley-Pillow-Inspirational/dp/B0BTMB8KHB/ref=sr_1_79

   Collection Date
   Tue, 09 May 2023 09:18:17 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Sarah Christodoulou

   IP Address
   2a0d:5600:8:93::5

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/112.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   ldl+tEX7nhz4UwsATEkTsivbgpTVI+bh6vPVLAw4i7pHCpvNQJwNefJ6eEGRIxlySYL8l1BmHca2saEFD2vwbTxY+3wUSB1f1j0FmWQMbSUlzbh5yN2fcj1mMwGJe+QiZyPajYBF/UEnqQYq4ImW3dCdua3wUgWdLE2VGfi0rx0=




                                                                                                       File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]HONLUNG-Preppy-Smiley-Pillow-Inspirational[fs]dp[fs]B0BTMB8KHB[fs]ref=sr_1_79]]_Tue,-09-May-2023-09-18-17-GMT.pdf

   Hash (SHA256)
   014e082f3cb29e50cb6be65d8fedb1e668b404dfbd77c15b38e1ac7aa21e4f51

   Signature (PKCS#1v1.5)
d7NYy1IfPijmzpVKvad0pXvDNSZ6cIJ0Y5TWMqHD8Rmv/xKcbjt2LESbMwJ03ZrT+GclKGj4WE6FLf/VYtkWFy1N1MCJx9ZI84AfRWsJcGBfxsnV4TlpnM9X2B9JezPtl38Q+GOTnvAjOEgoKWqizq2c9ZeOCTU8CKxd73g/2fU=
                                                                                 Case 0:23-cv-61203-AHS Document 35-11 Entered on FLSD Docket 07/27/2023 Page 18 of
                                                                                                                       38


                                                                                                                                                                                                              Investigator Name: RemoteUser2




                                                                              Evidence Collection Report
   Page Title
   Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Sat, 13 May 2023 16:09:04 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   RemoteUser2

   IP Address
   2001:ac8:9a:1e::3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/113.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   FR60r5CEFjAvD5ZZ7B11ke+210JOJMXRNc3Dt7e7JBaAsDCk3A476KXEIYq6R3GK9uBGtkYQOeBQfo0Yzck2Nv3ZO/I3slV8e6rwdPdlS4bCaf2UBRUhog32y6iYeme8ikwXPxhF/OGP3xfqZL8F3F9Xacn3ukRVfG6pgPNY4iZ0vY1jGkuOXtjqkYGjF44/s/0w1OOaT1cqI4b+H
   +NdAjwrwww9Ie639vqsDwM7+JdjZGpRgws0UOirQFh/xDF2kRk86tWTtu+TVf9xecvTDR2p+WK7MKj1rzbxuKCgYQzL5A1jX3OL6Z7Kdj+vcwLHh6z6lpBnr7btwBAYdQBShA==




                                                                                                        File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Sat,-13-May-2023-16-09-04-GMT.mhtml

   Hash (SHA256)
   8e39f3be1b56a59c79066c25d5172eac9e3312bb014a3348e1a6771418884f1d

   Signature (PKCS#1v1.5)
NV3OLXCxis9LdlPkB6HnFwvIJTlUUKGr6RpNPG0gJK/xjMaHsYAN92QanEW8+rc4gZY3ntINm8/0Ie350lJvsIKSXqaMJC+DzGkXN1qfEixf4dh1u4TgTDcEcR9uWldu71lNYTZgvgXj6XU50lz/
f3lC9CHFt5w11FgBDmR6u0Pp8sVQHbRLNeI16VS6Pw2eNUNIcuFlY5RuW0VrwOioM4onC9zY6lnWD3NzQrmCZvCh9t4KcTthGmNmMfeOTIONT4DT6oCAQUFRrJvskwOMM2Je2DC/SvlUKJk+yxlSn4gW+sWQhHc1gFzvkAwqv5cdN0AaLIGIiyQPYAzxlzQGUw==
                                                                                 Case 0:23-cv-61203-AHS Document 35-11 Entered on FLSD Docket 07/27/2023 Page 19 of
                                                                                                                       38


                                                                                                                                                                                  Investigator Name: Chris Stavrou




                                                                              Evidence Collection Report
   Page Title
   Amazon.com | PLMOKN Slippers for women indoor and outdoor men open toe fluffy cute smiley face slippers, 7.5-8.5 Women/7-8 Men, B-white | Slippers

   URL
   https://www.amazon.com/PLMOKN-Slippers-indoor-outdoor-slippers/dp/B0B49LPLJS/ref=sr_1_28_sspa

   Collection Date
   Wed, 19 Apr 2023 07:40:10 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Chris Stavrou

   IP Address
   2a0a:1dc0:4::3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/111.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   YcV8U5ts7RfeTtevxitBM+R9Wwy0tO+8S1zV7Ws7bKqPmk3EzZBS0oBqhnreoLsq96onCvYB0W15gQEFm3JlvrwQwCGNzl7DsWV9yFaSoGVIUnIVGO2ZaL8BNWiv7vCZ6BxkeK53DtDbMGlR1SfaZs8DRbdZcOM1970G73IsW7Q=




                                                                                                        File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]PLMOKN-Slippers-indoor-outdoor-slippers[fs]dp[fs]B0B49LPLJS[fs]ref=sr_1_28_sspa]]_Wed,-19-Apr-2023-07-40-10-GMT.pdf

   Hash (SHA256)
   6e29d65e387f6f63c217cefdcbf43728e6bf30f8f1a5431b8dc8049c8f3c849d

   Signature (PKCS#1v1.5)
RuTmqCr4UPeGDvdGmYVERlDiqZTp6I5hKzvSClGSBka88rg15NiVAvA1/R2bPwVtrvTYo7YijrN1bfRoe14qJVIqkPcNING6aSD05iNzp872Ti0avJGa7FsPTXcnJRd2F2M2M+jD6VlQ+KJB7k9UZ+l1yBInyR3KZcAk9ppbYBk=
                                                                                  Case 0:23-cv-61203-AHS Document 35-11 Entered on FLSD Docket 07/27/2023 Page 20 of
                                                                                                                        38


                                                                                                                                                                                                          Investigator Name: Sian Kelly




                                                                               Evidence Collection Report
   Page Title
   Place Your Order - Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Fri, 05 May 2023 09:03:26 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Sian Kelly

   IP Address

   Browser Information

   Digital Signature (SHA256 / PKCS#1v1.5)
   h9faUhEX1tPN9v5KOBF65v8kRRGdrvqNEBh87WfRh4K0fM5P5aJhpMnkIP0JZSF1WvhiWoinLkRB0xxzZIY4dyumY0HfOGse5FHDJZhQWJsrWclYd9YqJSUEtbUVQHwuRKJvB9bTuLAFlVpxewJzKuPCU6FKax0uVQYuTJ9QrAfs8r9uwfG0YQAKEOduDhjmvUOmxjcLr9LPY5O5BbHGg9z8TS1
   +oznbhpDeIvJzBd/xeY5ZSUTqV/SU4/lm7REBKTiUsHIZHfNJ2ckUOyTu05KwNXmKZ3OPq6u35pDjuyTP45vev9Ydz2bUpb6+LrpqWDcEbgB7Q840XLWbynAK+g==




                                                                                                         File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Fri,-05-May-2023-09-03-26-GMT.mhtml

   Hash (SHA256)
   ab2fc6cea2666ffb7ea6c4814b4e0690d7f428bd5d93c4ebadfc243cf93edea6

   Signature (PKCS#1v1.5)
cTbGIdoNk9IGxE68EHL+CC4/
NNgO5l7Bn8qhwoLy5ZnqZMTkyp7pj7XhdFRqdN8zdLhqeRSemR8dcUieSsjj1QxFWBUOkx43cfBvQqPgXgVFKoxdSO9xY6VQ6zLHw3HC5sFJMhqwmwlh4w7z5S0AeQCY6dDhsssb2lSdVLnyZezyJR1RNtLxTN6AgK2+H9taXUjuFoOWtxOV/0CYYX9NK4s1DFVx8RDadF7nHyu3uHS7Rwf7hev7Ax
aBp1DETU6Fr2AnO1LSaNGsL7c2wrd4A/7iLH94IRNqent7GTrKgxd+wWDXdrEzDNHnkaElrspJ5/oNURS/PBmuJIxgZrN9mg==
                                                                                Case 0:23-cv-61203-AHS Document 35-11 Entered on FLSD Docket 07/27/2023 Page 21 of
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                                                                                                                                                                                                                              Investigator Name: Chris Stavrou




                                                                             Evidence Collection Report
   Page Title
   Amazon.com: Seconddog Liquid Smiley Phone Case Compatible with iPhone 13 Mini- Shockproof Protective Designer Cute Cool Cover Cartoon Smiley Face Phone Case for Women Girls Child Man(Blue) : Cell Phones & Accessories

   URL
   https://www.amazon.com/Seconddog-Compatible-Shockproof-Protective-Designer/dp/B0BR56S868/ref=sr_1_132

   Collection Date
   Mon, 24 Apr 2023 11:09:41 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Chris Stavrou

   IP Address
   185.230.113.27

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/111.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   deRfitONZXhws+N5qMdHuMPBoGi/3hQOdNolf7VF6maZkQQhVE5Ab7H8JOIdjzzfRsrv6ejpCHu9BZWzg2Tv1URslokdcIlXUB8uyVm0vDbHm37zyt1JP0BeZR5cjeI++/qo6cTmlAm586p69FPbPbY6fawoAukeHYc5/roaXJU=




                                                                                                       File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]Seconddog-Compatible-Shockproof-Protective-Designer[fs]dp[fs]B0BR56S868[fs]ref=sr_1_132]]_Mon,-24-Apr-2023-11-09-41-GMT.pdf

   Hash (SHA256)
   92383b00c79fd3fe2e47f6b8ed7df009523f2cf6d0f3ffe00015a29f90028462

   Signature (PKCS#1v1.5)
SqOib9fb5gwLA9FcxRox+onpnR2tQgt/A+lwW5tC9gDgdBTduOyNShcwcdWqUehwxbjaZxN+ykhqI7yQukAXMsL2AOzAhlLoH2NqT44OtrgdZ4X+Slvsj3kzZkPhUV3c2jGtiHYoBkO7y8uZ+JV/RcWaIVWg+yVu3GMuRn2/xBc=
                                                                                 Case 0:23-cv-61203-AHS Document 35-11 Entered on FLSD Docket 07/27/2023 Page 22 of
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                                                                                                                                                                                                              Investigator Name: RemoteUser2




                                                                              Evidence Collection Report
   Page Title
   Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Mon, 15 May 2023 15:20:32 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   RemoteUser2

   IP Address
   116.68.99.108

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/113.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   sASPpEy1kqE1X1sS3TmlqYr6rngQ+3ezZqS8uhl7ebmoPMGvLgWsTaQYERcS0wN55L6+aV/7KfkeIFyj7EsITEBrqXHR654Smnu8+9m3VFcEob+p5p4Q5DRwD9gINFNCuXqwoiauyBHmncJNNC2LRSURSLRmVqpkUi4fvP/Wrz+wRiUqcNDZXw+sWzJlCtEJnajziD3Pn2Nhre08HVQ1/
   tBA4wgCjncdpGnLyTtZfry+Gmu7soQUW/a21nPj73gp74yNdUmFYyvS8wyKJ8iuG91jJ11cMsUuDMU6CLF4SHs9JpL5gtbtjUyQaHV4HPR1hoGVmDLx7OO+T9EveH0+Qg==




                                                                                                       File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Mon,-15-May-2023-15-20-32-GMT.mhtml

   Hash (SHA256)
   8c3033fa28f7d72ef873799f7a6c02e2d62a7f110d37c91b8476f2d4a8f452fa

   Signature (PKCS#1v1.5)
otigCSYGc8riqK7VE/01ymTxsg5w8jgyLjtQHxtAwQMFhr0Z2u7hafPtnkqBadzrW0jCIVHp8fgVAH39mPqQXHJZVbGOf13wQTfO8aoiqW8JqzOtP9AMscyAkMySCNeflxoUPAOWP4b+zfwi31jngZUbicr/0Nv/ezhcUxlzuHVhQjdJhcmEDENGeFzJXdu4zzIJaFweLAodcBxd+QKwou
+UIdoD3A3uUQrVXabfc9FIA0nA128cDtnnqZ/j8c5VNm38MaLr7SzZhhbTnR1PUvSvACzZogdBHX8KlV1XmAYkuVbjJqi6eJCpHv0N1742ioX/CQWgI0NAUbXq/lwCgw==
                                                                                Case 0:23-cv-61203-AHS Document 35-11 Entered on FLSD Docket 07/27/2023 Page 23 of
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                                                                                                                                                                                  Investigator Name: Chris Stavrou




                                                                             Evidence Collection Report
   Page Title
   Women Casual Fashion Crew Neck Oversize Smiley Face Graphic Print Sweatshirt Loose Fit Jumper Hoodie Jacket at Amazon Women’s Clothing store

   URL
   https://www.amazon.com/Casual-Fashion-Oversize-Graphic-Sweatshirt/dp/B0BJD4YV4C/ref=sr_1_77

   Collection Date
   Wed, 26 Apr 2023 06:42:11 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Chris Stavrou

   IP Address
   2a0a:1dc0:5::3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/112.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   bNt4jnoiSTb7ydGNd51c9/QesjAHHnsgftVjBfAlyImTU9sCawwqQvYy2V0dSTcGvKBdDQD99kKyd+WaG3xivyT9J6kg7uCsLtgyoPBkZ/dEz2p73rJNQIKZnRPRF8bUcXAuPi1OGr9t4ekiIR7NjPCBKT0UIItdvOngSgKClbk=




                                                                                                       File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]Casual-Fashion-Oversize-Graphic-Sweatshirt[fs]dp[fs]B0BJD4YV4C[fs]ref=sr_1_77]]_Wed,-26-Apr-2023-06-42-11-GMT.pdf

   Hash (SHA256)
   9c19bda3123cb3129a1398bb8e625a75b2fb76fe55c2ae32d7d787c123af8c7e

   Signature (PKCS#1v1.5)
ZaK1+p0UScEWfMZ2FYVjGit682A9LxLCVuXaOcvAj624LLtW1VbH0UWLjURS9IQmleZMQ+DIMEA8NFoA7YNm/LbB4EEYKsOMaHSMmsFuWV+70K5qjc3fETW9UOltOj6vLSDYwegh+AjO/xoLhclIKqTG1dzuYRPZwWs5aZfBKnc=
                                                                                 Case 0:23-cv-61203-AHS Document 35-11 Entered on FLSD Docket 07/27/2023 Page 24 of
                                                                                                                       38


                                                                                                                                                                                                        Investigator Name: Neha P




                                                                              Evidence Collection Report
   Page Title
   Place Your Order - Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Wed, 31 May 2023 16:01:22 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Neha P

   IP Address
   111.92.77.63

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/113.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   VGo434iB9M488jhNTZoCqp84MJkotUGUzjDKu6+i+6p/4ElbIvz1WckA93RH0hW8QvUKfW1B66mS2bYtJc7R4pMcCrTpzkOzi6TrmWQc0ubui649lgvuWNucMgUU2Qy76sQMcOakqSS0RR7bm2ABTpGIFg39Q5kTNST/osPWQMu2ZAb4WG5TjRdZA69CCsb3I/
   QRM8jehEyapb6KJQ0TSqIwPDBut25XH7psErNQdcD8b0kNFyZbXG4LNcMgyQlbmh0cFCkFDpRciKtq2z4u0qPOUtSRMxhbD2WKITLNIawTebqkPs8T5XCibYLu9vAJNeSeg5bknYy+h+DaRq/p6w==




                                                                                                       File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Wed,-31-May-2023-16-01-22-GMT.mhtml

   Hash (SHA256)
   d04b5b8098ad50565bc1ec4bd3cb0006740cbce82bd2e4a9f01a7a38b823a41a

   Signature (PKCS#1v1.5)
hM4d1BGe+NmNbsVbKIbrDOVtPQOztfBsnbnKxftkistMTLmrlRa0RRCQ06aEJUMoAhcIoEByrv4AJb39cgmWd142yp9ZMyg4jH8+uIrHFkEM7Q9pX0vop6rqS4292k7LWRA162/z/sMDuGH5orcZ0p+ExAcNY1tU3invc4amW7sA2e7a6PDtHsY
+ctm0seeeaKyorrEdO4lPP53zUNqR093ML1gEa3p6aIpyOf4oo1ZsoRwGOwqcm9FSRy716eqFdpIyrAOHEjTwrY7YBHaQHWiA7lJah1wVtei/qx4vgTJBa8Ws7g+/nDGM0fflAyTXvbjkoPxFuyanKqZ88moCNA==
                                                                                  Case 0:23-cv-61203-AHS Document 35-11 Entered on FLSD Docket 07/27/2023 Page 25 of
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                                                                                                                                                                                                                    Investigator Name: Neha P




                                                                               Evidence Collection Report
   Page Title
   Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Fri, 19 May 2023 02:46:12 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Neha P

   IP Address
   2a0a:1dc0:4::3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/113.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   Ggil/TpnXfZel0f0bxSF2ZuZTHZ6HEvbibNpj46NrS00b5iXoBQmREg1VklVHAmJs79y2gmzZbdVlz3piiK/OFytiPBWmOkA/23a8EZk3m95vJNZdW3Q+5ssZFZeE4NDmiimI8on2D7mhQh7rrdx3mI00PtUL3ArFF5wslL+WePEpJB+TocOnNkmzq3D2x4DnWhORoSglPtvuM9lS8YTuxc
   +D5WSfO/1rA5jLMyB8bklISoZBI31npk9AzBZA7J6c3ArlQxAzPKtSqFrz+8TnfVngNVAjRk9I9kCBsM0Y4Ut3ZvvqjaRurdv2DJH8j3etixX4nyEDMimM3F9wn4PMw==




                                                                                                         File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Fri,-19-May-2023-02-46-12-GMT.mhtml

   Hash (SHA256)
   d4bc1e8c0111d29c578989216db7dd8da6fe5a1db7c74115dd21699ac003a52f

   Signature (PKCS#1v1.5)
hERYSvE9QjHQA/9FskI3SminypzuQ14hvJQUN7aneYk3cqCIAY94X3DAXHf
+O5WQnhk7IRN1QNukK4zR9lLFxlj00UHdRHe34MwxO2EKZoBPXp6jFb3bJOcWUO0JSIrWlkvTqi3i34Fdon7PQRw33WJQR7OYAEltntJJCww9HGLgp5REgL8c3fRGKmIEsAqqt6WuUmBXvdPN3Vpi5bQcTjOlU4ltpGvS7y2EwD3e1M+0e2ry0JRZLfStOF7k/blIf8eZpnyRhkA/
q6QWl0PL2yg7OwSevPkBYRCVxn5UYhmt7qKz1ydfcEqalFO8C8WkWKEbgBLgpWVFcFkJG+SxwQ==
                                                                                Case 0:23-cv-61203-AHS Document 35-11 Entered on FLSD Docket 07/27/2023 Page 26 of
                                                                                                                      38


                                                                                                                                                                                                           Investigator Name: Sarah Christodoulou




                                                                             Evidence Collection Report
   Page Title
   Amazon.com : Hybsk 500pcs Yellow Smiley Face Stickers 1.5 inch Happy Face Stickers Teacher Reward Kids Encourage Labels : Office Products

   URL
   https://www.amazon.com/dp/B01B5VBULU

   Collection Date
   Fri, 19 May 2023 08:35:06 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Sarah Christodoulou

   IP Address
   2a0d:5600:8:36::5

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/113.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   gWMkO4A+zo/v3RNLTKuFCQQ/093XEGU+yFRsJI1EVf+RFY4BSDjc25kEAyAAgfUqAch2aCe0+1A2LwzGE1lATd/NdDelSJPA+QZLM9u2pvIduLIFozWNQ+cKgylnXvchNR7NZ0Lh8K646kkW98czJJ4TauemiyO0/TeWYXs8gjliHSpIBgNfHwF/2Vi9onocX8Njq
   +l1OsegAHlkhIY0K8GJiVZRXecociDu9B3BxJnqQaoJhtpWjmhylPVbXcLYrXmaU92gXMiDlasGLL1nWQmubts3pawAYH4z7nbjoVfu5bMdsTSVyWsakXxGsB45g8yqDxffHbsKUI99CgyjFw==




                                                                                                      File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]dp[fs]B01B5VBULU]]_Fri,-19-May-2023-08-35-06-GMT.mhtml

   Hash (SHA256)
   9ed634656db5dc52e4cfd85111d78a6a32228c9f13d7b31881ed3f4de979bc89

   Signature (PKCS#1v1.5)
AJtPj7wqtgrMse8gACtbfKM4bU4sRzpK+XDvBYBB3vDQCGTmdp2iR65+hUwAfzUvCssX5ixw420gMWsC3oicPqNAx3lcUeDFm7mdr4Xjs8AjNLIpXMmkOC2RFOHHJNiIWdw+lCKLy0/zwqUlNhF/E/U3481uLPKlPwgxJ2o5AfduA19lCpNBw
+cpSe2g3qxIq9Nqi1xhuI7sFBZfyZMFRhtT982FlUyoLhuvJw8z5t2US1sPc78TCb1wmrP26GaC8VWVEeD1iRRKbP+lERG2ku7Dbrx5/4XPy+fJ39H/Kk38xm2QX9OeNQlChpCAK6JHnJlnNq7oWhJK1k2/9s12Gw==
                                                                                  Case 0:23-cv-61203-AHS Document 35-11 Entered on FLSD Docket 07/27/2023 Page 27 of
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                                                                                                                                                                                                         Investigator Name: Chris Stavrou




                                                                               Evidence Collection Report
   Page Title
   Amazon.com: zongshengshop Fashion Jewelry Hand Painted Crying Smiley Alien Pearl Earrings Unusual Clown Fun Girl Summer Earrings High-end Earrings (Metal Color : Gold) : Clothing, Shoes & Jewelry

   URL
   https://www.amazon.com/zongshengshop-Fashion-Jewelry-Earrings-High-end/dp/B09MQGJ2MN/ref=sr_1_72

   Collection Date
   Thu, 20 Apr 2023 07:02:14 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Chris Stavrou

   IP Address
   2a0a:1dc0:4::3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/111.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   O/hrENyg1GeWiCr07LIdoC4m959J6mL+E0BboU4WTVQK4mTnj2xZHypb6WkhR9ihJ6S7SOoh7tGsWR6+qKcyUWu/ETb0noF1abGDVM3numdRIec3HF6Lt0h4dQ0ZOu3uHlLmQivcm2Udrclq4h2APAIFzD/5KKn1rWI3WR0N4s0=




                                                                                                         File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]zongshengshop-Fashion-Jewelry-Earrings-High-end[fs]dp[fs]B09MQGJ2MN[fs]ref=sr_1_72]]_Thu,-20-Apr-2023-07-02-14-GMT.pdf

   Hash (SHA256)
   defa4f898311879a5c7ef3917ac2af56dfacb4f99056af62f8a1ce910a5bc509

   Signature (PKCS#1v1.5)
LpDAQfHO+Kk8uGAKLKwOGhwApagIlR7DMZHV6LqPKwquQfx2E4LumEKmKOnmnro+dNDA7zWqp7UX8/f4GjKLXiHsZx8MENp1gryb01VXTy3TO4HE3aq0dKLWGrexH8BEeUCSqjHEF+jqyMLP5Uy66cWX8JFo0TRDfGrix5u0Cb4=
                                                                                 Case 0:23-cv-61203-AHS Document 35-11 Entered on FLSD Docket 07/27/2023 Page 28 of
                                                                                                                       38


                                                                                                                                                                                                                       Investigator Name: Neha P




                                                                              Evidence Collection Report
   Page Title
   Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Thu, 18 May 2023 23:53:46 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Neha P

   IP Address
   2a0a:1dc0:4::3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/113.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   WrL1e2QfkEiNtAmfOPwM0mZAdZFrHy8BGg5Zn/0U6hC7yd0Dzc8usP6E8GBWZGxtMg5tgu6WymYTadgv0teMi4nwrlH1OT/4d2IF28jDqkzw1Kg2l7M/a29Nlrgw6CoxeFPC6JNtxncB/WrKiUDNMPWwyoKhxIJJbYaVqJn2uGVzIRAgR1U7C1fsQRu+YeqjugiZ30UxtFJMPuyO5SoSTFq
   +2PyW4QxK33XiRqaLXMHmWItmWXhojUFn0OtllN85yLHX14ywxYOuG/eauH6Ega9S2dhEL7K7XjN+HhF3Y4SwNLrI7DipVuJYxtjh+Vb4qo0qGKyvVcXNrj7UH07Cdg==




                                                                                                        File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Thu,-18-May-2023-23-53-46-GMT.mhtml

   Hash (SHA256)
   5b676a9a3d4cba47f842186c688f8b9de687e1cec4101992635f5b187b41df91

   Signature (PKCS#1v1.5)
GDkW46tLY7/56j5u6sVjHL2xeuEfS6f9x8tacMusr0tV4TwLYoHK5T0zhTMyXV0/46+VMGmeScUiJNujR9Ea/OPllGRBM+kCi5thEe3Zmri9OEtxIX9jinzPiPx6ZEYcO8qwS4Dv+Vfz5iNKtQK+MyqDhCOa0PhmXugCFMbqGGj3UnXz1Ztt83NE9rN//uVoiN586ZaIpVC81nvq5iLjrDz0ux9F+jfG9rV5/
PycnJaBVs6oWgycDXLMjNkdf1w7q3OwggeROzXVfVK/r8CtB9SAJOxRdgY0GvbsqE+U/xzV9WGEWQiIxZnJcFQxJBm2VGxCHsYAnXt098A7jBL9GA==
                                                                                 Case 0:23-cv-61203-AHS Document 35-11 Entered on FLSD Docket 07/27/2023 Page 29 of
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                                                                                                                                                                                                Investigator Name: Chris Stavrou




                                                                              Evidence Collection Report
   Page Title
   Smiley Face Knit Beanie Hats for Men Women, Embroidered Cute Happy Smile Soft Warm Skull Cap, Slouchy Daily Unisex Beanie Cap for Winter Cold Weather Black at Amazon Men’s Clothing store

   URL
   https://www.amazon.com/Smiley-Beanie-Embroidered-Slouchy-Weather/dp/B0B8WZMVNJ/ref=sr_1_179

   Collection Date
   Tue, 25 Apr 2023 11:24:17 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Chris Stavrou

   IP Address
   2a0a:1dc0:4::3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/112.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   oUv/RZAfZb6Nw515TwEbmh7TJxyKsK1pszTH8GjWjUmrHb3cu3zK68Shz65o1YcavKcv3Zhd2bP4KJkkUzZmoWwAFAScyubfI4bS7HpLxqCcYbddvbw3lBl8ZqgC0diswCES9egdz235Aj7yEJ9S/DwVNAh20oWudvZ4qA5SiZY=




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   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]Smiley-Beanie-Embroidered-Slouchy-Weather[fs]dp[fs]B0B8WZMVNJ[fs]ref=sr_1_179]]_Tue,-25-Apr-2023-11-24-17-GMT.pdf

   Hash (SHA256)
   e85549aeb25b3ead19f0eea3beb9854ca24264f2bd50a855fbf0349bf6cab389

   Signature (PKCS#1v1.5)
g+XGw74d4caon/eGGBgN29wt+voJRrPA/yMGl4Cavs6OipUamHNXSCOhGNzDFVJbEjhX/s0saU9IzZNF6+JNCNd1jXa8nhkatUhskemJuwjaGvylzgwbLlXQxDWrsvxc5QHKZteWSdonF0nleEbRH9qK8GsryGIuBHnMgQopGTc=
                                                                                 Case 0:23-cv-61203-AHS Document 35-11 Entered on FLSD Docket 07/27/2023 Page 30 of
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                                                                                                                                                                                                                   Investigator Name: Neha P




                                                                              Evidence Collection Report
   Page Title
   Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Tue, 30 May 2023 00:41:29 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Neha P

   IP Address
   202.164.136.95

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/113.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   Qh0m1L19F2sisrR2ariye2PkF51mg3BZgZFI/BMnlPwWR1JocTWvI7AW5ljnZ3lm75ay8hadAZmeMkztxl9dY6ERcL7cFBpDC2n79yx04yhoUU9bSTTdwNDBb/a4/piq7yRl78KzQCzJkMOu0ZPmClyyPZ1vnCGOGUDkWDUUliTMboXHKiP5cRal0sH05razhKsa/2XL/NXXxnph/q2wye
   +e9o8R0RmTE8OoOj+vC49bBddgwDo2CUx6m0ohv9pBG7aNufnYlFQVUwUK2En+kuk1RolhAxGk1sOzxm9gFFP/+c741PdJQmzifQTplSMaeVy4BaOWd6WJirybq+Jv8A==




                                                                                                        File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Tue,-30-May-2023-00-41-29-GMT.mhtml

   Hash (SHA256)
   cbc842dd73054410cfa640760dab1a7b3e43a54862f03764ab836ee8147f7c56

   Signature (PKCS#1v1.5)
T8HGs5jEEQw68/Aeq8r5sCDeeEHopI5cuDEJofUmpnlvuItuWfYpAr9pqvy8Ko8e4wzzHon+DIbeWFiMlTiGWiHe16aMm6uszReor6TaBZ7t386EYRviG6x5eNxCRXsTK7OIVJM+wU9ZbuXNMLyF0lDj8z2gG1cOEj59rREqHaS3F9ho/hrHJShNOICI9Ub4LI/iK/y9lN8G9qGJ0PDHx
+ZB4jsjnlWdhBOkNTL5u+K3tH7YNQ8vQNQbTbU9O1SKyc9KWov0/fUEYprKMURqk0K0HQpg5MhG41pouv+fwamKXCRNH3QUVHE4vYZK9bnI9AOj9ilxVCl5gTf9li5w5w==
                                                                                  Case 0:23-cv-61203-AHS Document 35-11 Entered on FLSD Docket 07/27/2023 Page 31 of
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                                                                                                                                                                                                                        Investigator Name: Chris Stavrou




                                                                                Evidence Collection Report
   Page Title
   Amazon.com: Smiley Face Small Hoop Earrings for Women Girls Link Chain Huggie Hoops Cartilage Clip Earring Happy Face Circle Statement Stud Vintage Jewelry Gifts Sensitive Ears (Gold): Clothing, Shoes & Jewelry

   URL
   https://www.amazon.com/Earrings-Cartilage-Earring-Statement-Sensitive/dp/B09FPBZ363/ref=sr_1_182

   Collection Date
   Thu, 20 Apr 2023 05:09:06 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Chris Stavrou

   IP Address
   2a0a:1dc0:4::3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/111.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   CXiCUNfSq2edcLY6so2ue4zS/c1N7HhyO2MoyE8/sZFdInFdvixwI49MmWP13uWHmpTQnXEBOYPzejAyjJNXULknpFUumva0y0CDrUouLtdcQKr3cGHhtD2WgauyINJ4fAeYLNPql5dtdAcembhVbXaaieVMrDT/gFk7PWauZEw=




                                                                                                          File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]Earrings-Cartilage-Earring-Statement-Sensitive[fs]dp[fs]B09FPBZ363[fs]ref=sr_1_182]]_Thu,-20-Apr-2023-05-09-06-GMT.pdf

   Hash (SHA256)
   7b8f80782ef3c0a5ad8f31c81173192a73632fae96d395872c2b47ee6d0f78c6

   Signature (PKCS#1v1.5)
YDQSXLxcVn/En1g7koHZVGFGMTUol9G+xAvRthxervcVNDG7HlH7fblPBI5XwCaR1UyRJem0fNJ8Yumw3feATa6RyhZcuWpQOc9a8gGaQqTahbTt/5YEOhh8nKo1so1UGgFMvtU99LMtrC2ccB/wbpCEbwiPAgk+cap9GUS/Amg=
                                                                                 Case 0:23-cv-61203-AHS Document 35-11 Entered on FLSD Docket 07/27/2023 Page 32 of
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                                                                                                                                                                                                                        Investigator Name: Neha P




                                                                              Evidence Collection Report
   Page Title
   Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Wed, 17 May 2023 13:02:02 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Neha P

   IP Address
   2001:ac8:9a:d::3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/113.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   gmyoTjU9yHyvWIcyr0KyE8/tKjwjTHKCd6EhlgvekO68Teg0zOO8y+NxsOdsjm4B/zWuZQxI2QBMB1ltF7Ahch67pUJoTTv/0vIZcsegD+N4bmJvqyJ3F+FSaUfIvmvSCPrw73hDfjoCW7UOWNngyaGV0NRCo3cEx8ETr0JFo2gLbA27Zc4xe0/yetYWUmw4wz
   +vip8fykO4H4fN4wLyXEllnDbSU3oEK6PO6o31DExk9eYtlt5mdeeU+mei2Dwf4IvKG7QAe8fAKNYNEa/rLrMNDIqpJhdWHJqp7GvqI5G+APj0uYl+XnFPERPNjvRjJKYM6uHWLfXoYCYTWDZKmw==




                                                                                                       File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Wed,-17-May-2023-13-02-02-GMT.mhtml

   Hash (SHA256)
   180dd087f3b8b5a7609aa42cb2949a388847163228590b57dd7ec3b41bd6c171

   Signature (PKCS#1v1.5)
MRIrDDlp9ORGYoe0WSinVZn79FReLo5f0VmJlpYJUZ8zT64YFkYlGbHotwKnSyFK/Rsdu1ZB5ai6LGq9EG4MN/IasbEaAjxRrdLneBYSt8jtTVAd6n3uUI77EuXd621suyXiZogisTcXpds/4CQjC2VbgNjd/2TP5ScQV1223DgTqfMj/El0ftD6rZil2qEi9AboOgbya7D9k09cFNLer0pYr
+us3y6UWLlMuOR7buNawVuuRZxaTXsQCHeYKZMnXLt7I1dzH44fpAO2zycm804deQ/KcXkf3gsUPB2XsAU1RQ5teeQADHTD9U4xx5w/tmIuN28yJne7u1L7WmpmTQ==
                                                                                Case 0:23-cv-61203-AHS Document 35-11 Entered on FLSD Docket 07/27/2023 Page 33 of
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                                                                                                                                                                                  Investigator Name: Chris Stavrou




                                                                             Evidence Collection Report
   Page Title
   Smile Face Neon Sign Led Neon Light Wall Decor Smiley Face Light Up Signs USB Powered Yellow Neon Signs for Bedroom Kids Room Wedding Party Decoration - - Amazon.com

   URL
   https://www.amazon.com/Smiley-Powered-Bedroom-Wedding-Decoration/dp/B09SZ73S5F/ref=sxbs_sbv_search_btf

   Collection Date
   Wed, 26 Apr 2023 07:16:13 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Chris Stavrou

   IP Address
   2a0a:1dc0:5::3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/112.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   WSI+ZLCHI8e5z8VuRAZ3xebLdYHeeD3MU4fi/NT5wAXN/6zK1zgBn+tAimnhar1tlIQTs+KpB7MYa84IebY/usjwNZvsWt7qviL/LRgweZxNS+yVZT9FVCbNy5ohu3DoPEf53y82zYl93HgaQeBFxhLgRVdkfF5QstxOXhlbjIE=




                                                                                                      File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]Smiley-Powered-Bedroom-Wedding-Decoration[fs]dp[fs]B09SZ73S5F[fs]ref=sxbs_sbv_search_btf]]_Wed,-26-Apr-2023-07-16-13-GMT.pdf

   Hash (SHA256)
   c8cf6bbaf1546a5d78e12e0e7b5315c095ab173932621f749730d5043c3c432d

   Signature (PKCS#1v1.5)
gQ5LUSa5xQcisT321KJ1gG5tKUkw7xkRRuQpifv+Je8o/JvrDlal1BJ67ZP8zgGjofm3sXCHyR3brq1L7B8YawQnmQ4E9UKz4RBRQJhWVMbvhobqzRS6B12+AyYIB2SfPDiK/2BWeneCk3w89J46jwmSeCluh/cYIIsljc+DVYA=
                                                                                 Case 0:23-cv-61203-AHS Document 35-11 Entered on FLSD Docket 07/27/2023 Page 34 of
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                                                                                                                                                                                       Investigator Name: RemoteUser2




                                                                              Evidence Collection Report
   Page Title
   Place Your Order - Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Tue, 16 May 2023 11:42:32 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   RemoteUser2

   IP Address
   202.83.57.61

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/113.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   s2WB1vV3zlJnjRrpwZMdzUfWBr4v5kuRiCmeod/e/aAebDJJtjgS5zQqG1upvWoK122rFC1aDlvU0R8pnxEkQTUba1mwQSNkZVtGmNmvrqcfJJfdE3A95nrYHMfqoQHhON2uqbjw3b9maSipv9oj0XlnYKlgXGeKJuDJtI/
   mmv5uFyv8dvosOwOVrmLefwxzT49iavdvde1VkJgIMQtOtm3tsqsJx3FkQQPIPsu2zIhYuuH9XWYLqwN27rheXi0hpurHUkMEkqecMyT5X76e4+0VwDeGRz0tDT0a4Y6t/zB9J390XWcVVg9QC5uPpwZP5m7opH81nyDoV4AN+haymA==




                                                                                                        File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Tue,-16-May-2023-11-42-32-GMT.mhtml

   Hash (SHA256)
   edda034e5a21d0b653932c23459f35806c34bfbf06483b619d2e3b09b6fc9054

   Signature (PKCS#1v1.5)
UawvutbcAfHksaUXCeUboWk4SB3ly80Xg6sZd716ua+ig+Z3zc/xikVcrdCuaLbX8ehf3kDgBY8EgucJGTrzpdF/A
+o4ciSoE8P6pWI5WZwZ2n6WAEO8Yu6r0wG87wSKLokZ2kupuJi9ykKnuWaEuJkhjdSLbZlgwlVgLpb5yNQzpTHruVLw28BGnL4MlKhls28EnAN65AqED3dnEnRYk2jFWWjqHoLOMDTpAdPAdZTOQJi6oAHg9JlIlU3PxI9zVHp8ZrZcP/
w0vI04i5d705YJ9JPZj4VEqrhcL6s6Cy1eO2BpGZyzN6mywcHO8e49tqUr3mJxsnwEfTtxd2ypfg==
                                                                                 Case 0:23-cv-61203-AHS Document 35-11 Entered on FLSD Docket 07/27/2023 Page 35 of
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                                                                                                                                                                                                            Investigator Name: Sian Kelly




                                                                              Evidence Collection Report
   Page Title
   Place Your Order - Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Thu, 04 May 2023 12:00:42 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Sian Kelly

   IP Address
   2001:ac8:9a:1e::3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/113.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   Z8FKFPry5SM9b8IG9NRmAoEeFLUq/lm484vQGVVGuucg63pNmpn5dgZNqqASniACdq5Ns064d48WIFRUj2VfnkB3GDvYYabDHprm9y09NECnrdF6U92cUZvtAuXUY/mNUxTO2HCKKq1r/SpG1+ZwbWMj8iguPde6nVvoHY2kSfRLtN8x5HF6YjmN8E/0eiY8iMYFqthGuGFlUO
   +XMqJ1ExRChwwPC3wtwzyuaoaxRJBuQCY0C2ENBEZPhLxHLJE7aRdBrPYx4d4Vt0BI15/bJYexXd/yQtG6xCQjgSQtE0oxIYFBrSY4m/UDvBx9k9LuKVCtOY5NBzgl3uLLy0wgRQ==




                                                                                                        File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Thu,-04-May-2023-12-00-42-GMT.mhtml

   Hash (SHA256)
   9ff8579556316da9b9949553122b527382d7c23b2c7106402556c8947a175444

   Signature (PKCS#1v1.5)
aeTjQzWR78j2c9Ix/bBHaj0iPvRCX3cUen96fPmvnxDxsJFgclvyBmZmOjuiUQsiQ4FDNHmQ8OkeHObsw07EGOCA4gw46+LYm1PMg7sDywgdHzUDeUsQL5jL0PPw8bG22/
ehjpaAd5xRXZu6hwOW1BsQO2j904lAYt1+smBn8Ir9HKTxq3dPctMHtKmwfMzK6irCB0G979B7piukaBbr2NU8KaxYiZprZHq+cOQOc1oAYWUjTmE39oqwlVha0YYGO/Eo1WogyzE152we1i9ZERD6CKTiCtos12pvEWR8lw8v+1AdRPV0MXt+2J4ZP9htTFCsgS9+S8kw8/w32bNvwQ==
                                                                               Case 0:23-cv-61203-AHS Document 35-11 Entered on FLSD Docket 07/27/2023 Page 36 of
                                                                                                                     38


                                                                                                                                                                                                      Investigator Name: Sarah Christodoulou




                                                                            Evidence Collection Report
   Page Title
   Amazon.com | Ivyhomestar Cute Smiley Cowgirl happy Retro Smiley Face slippers, Cozy plush soft memory foam house shoes for women | Shoes

   URL
   https://www.amazon.com/dp/B0BYZMXWGS

   Collection Date
   Fri, 05 May 2023 10:32:15 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Sarah Christodoulou

   IP Address
   185.230.113.27

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/112.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   GXL7M8/W1DojwoLSpUw5ccrXzSvtbSKH2AA9Vd4ngCXxENOcWF6Goh6ODB7aoFSW4pODOFsQobwi/G59iVt/+E9+U0qRSZXQE8mn3wPlEUd5YEKWTkqDnrOfB+G18CBR2ZdQugt236eTphaKbmC5+etenWMWzvYqtMZ8OO/RGEketjbII0vL+7hmi7YirrCcKbw2ct/RCc/
   WXJFDmjCPeppgld8stWvYlgv7z9w0JyT4bCRHAvaRA/4x+XGHbsscR7DfWWmUMWmjdJ0JRi7D7aSMstqPFP6Tjq+qLVUqpkgEcRVsKKMGqdc8T4kZ4mvIQYr798DoLoRDA2sckgj4jA==




                                                                                                     File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]dp[fs]B0BYZMXWGS]]_Fri,-05-May-2023-10-32-15-GMT.mhtml

   Hash (SHA256)
   1671f48f9c5192e6b65e8ead99d739b149a7011a55fe6ef0d0523845225f805f

   Signature (PKCS#1v1.5)
Qg39ymng++gwqmIgTktb5tU26VCESWg8FERjiyAvXWE+aaaNN11lYiME/+5CjYfa0qa3Tqy4e7gthMNVWQOKdJEiUCGvRRjQ4FgpVMJnLaExOG8bdDSeWMKQ6LVakrCvZPGihcm8S4BsUsF1rx0rHi+jdXnyyTYozcGNLLv2Szcu7E+bt5tgnRLHeFpaYc/WEQVbQO/KgBGD9rJm
+6YJWPSydlFaFJK3tJ3eQuODOM/6DBqJYwCF3MLGudi5wabsFEDDZ8SaH7ahLWpYBrcDBikEkza8jYm9k5k9viGhT/N8xSZsIvfZ6kNMIx3nx3YiIzV9JvgMx7kcT+y0Y3qizA==
                                                                                  Case 0:23-cv-61203-AHS Document 35-11 Entered on FLSD Docket 07/27/2023 Page 37 of
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                                                                                                                                                                                                                                                Investigator Name: Chris Stavrou




                                                                               Evidence Collection Report
   Page Title
   Amazon.com: Chenille Letter Makeup Bag Smiley Face Pouch, Nylon Preppy Patch Makeup Bag Small Travel Makeup Zipper Pouch Purse with Handle, Waterproof Portable Glitter Travel Toiletry Bag for Women Girls(Pink) : Beauty & Personal Care

   URL
   https://www.amazon.com/Chenille-Waterproof-Portable-Glitter-Toiletry/dp/B0B9G2XM5B/ref=sr_1_60

   Collection Date
   Thu, 20 Apr 2023 11:29:50 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Chris Stavrou

   IP Address
   185.230.113.27

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/111.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   Ogr97kfyak3qtEq7hfSRdyj3R0yQ+7ChCe1dSutIs6aoCQK2PfU6kdSWAryN/uRxy+pOJ8sI5EkkOUXegQfM55kzTjR46kYnCfcTckflBIk44GN6LDPxopGbL2Aa5YoCVEbWio9952qbi5UQt5X0Wme9gIuYYgk4QmcxjEe3Zf8=




                                                                                                         File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]Chenille-Waterproof-Portable-Glitter-Toiletry[fs]dp[fs]B0B9G2XM5B[fs]ref=sr_1_60]]_Thu,-20-Apr-2023-11-29-50-GMT.pdf

   Hash (SHA256)
   14eedafe8a9c1782c3c4dc538ee2fc509ae4073c117b6faf7abddd0c58c660b3

   Signature (PKCS#1v1.5)
ORYllLshfQwewTM6GrzBqb+x0Hu7K3Z15yF8Er+4MGmVwohWrY8T0XGEfYgZWoByeRC7S1NCgtk3FimB/kU8jzkkbSQdm26PvERVmntmxzq1MWERs8ApkgpvDXZK2NwYnB6hvFXa23+LxdyJOo7tlUErDOTQZV1KxVshux0gr80=
                                                                                  Case 0:23-cv-61203-AHS Document 35-11 Entered on FLSD Docket 07/27/2023 Page 38 of
                                                                                                                        38


                                                                                                                                                                                                           Investigator Name: Neha P




                                                                               Evidence Collection Report
   Page Title
   Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Fri, 19 May 2023 14:59:17 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Neha P

   IP Address
   2a0a:1dc0:4::3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/113.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   CWmuBshiol3sgEyjQg6QVqCtk1RCsrq3UCJotoxG3wOjp5tuL/BtVibfy+0mUIkUySPD9BzNxGlqaYVeToy4KqBIGmJAx7PWL6jPO4bdsqeY/j0LAl0k/0tbG7LT25W9BLKpbmEz2ci1bikg1g5ZtxBJXtd0uCQ/Mpit
   +qIcJeqMKsYrcuKPF650dJSwuuEibOnoeCDfgiodyLVG3Fdctzz5f8XblJMaTaCvrgvjzv9bGE7fWVdKQWtIaQnC35UGE1Dn54II/q30+/IfIaaJy/BYeb4scZzqRa1Pchli88rV0/5bRYFjxUH7NUyQ2FexuS+yXkxNn6qvB1G233vpKQ==




                                                                                                         File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Fri,-19-May-2023-14-59-17-GMT.mhtml

   Hash (SHA256)
   31273dbc57be5d4c36bc442a193052567a4061d4c50bd3510cf6765097d15094

   Signature (PKCS#1v1.5)
OCOR07J0Lgc5z29BEp49Wv6Ms1PyV/bK3YCMxV3yutYNVAGENTiujUVV5fM8nXFv/
sTHOrMiG29SPqaJbUkvq0eMvLHXOAvcqIAiFMQ1vopZ0qT6OEFb9ML8PA1x3kWlizkH7aQYCvRmutu54VwRu5eGXN8gYSxlrZQQRiOEHLOtNXRuPx711tMTyGo8ISYYfEAjSlSHKDIJGkMRkjG2INdXM3LI8ZRkZQUD9TvuKQsx/d8q0mQ2XSXaOmZUTwfc22mQ0UDdw/rNS3UNTYro
+QumWUhhKBp13Vp2RnzrU79obQCxcpG+oGm5IOXDBwwNzsWvkuWHU+oehFPNe5vsEg==
